Filed 04/27/21                          Case 17-13797                               Doc 2421



                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Tulare Local           Case No.: 17-13797 - B - 9
            Healthcare District
                                               Docket Control No. WJH-4
                                               Date: 04/27/2021
                                               Time: 9:30 AM

            Matter: [1512] - Objection to Claim of Department of Health Care
            Services, Claim Number 197 [WJH-4] Filed by Debtor Tulare Local
            Healthcare District (svim)

            Judge: René Lastreto II
            Courtroom Deputy: Carina Weed
            Reporter: Not Recorded
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            None
            Respondent(s):
            None
            _____________________________________________________________________
                                        CIVIL MINUTES
           STATUS CONFERENCE NOW TO BE HELD ON 5/25/2021 at 9:30 AM at Fresno
           Courtroom 13, Department B




           The court will issue an order.
           The Department of Health Care Services’ related motion to file an
           amended proof of claim was submitted on March 30, 2021. See Doc.
           #2415; GL-1. Given that the outcome of this matter largely depends on
           the court’s ruling on that motion, the matter was continued to May 25,
           2021 at 9:30 a.m.
